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  8                         UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10    UNITED STATES OF AMERICA,                      CASE NO. 10CR3044 WQH
 11                                    Plaintiff,     ORDER
           v.
 12
       RAUL MORENO (23),
 13                                  Defendant.
      Hayes, Judge:
 14
            The matters before the court are the motions for reduction of sentence pursuant
 15
      to 18 U.S.C. §3582(c)(2) Guideline Amendment 782 (ECF Nos. 2206, 2262, 2291) filed
 16
      by Defendant.
 17
            In this case, Defendant was sentenced to serve a term of imprisonment of 168
 18
      months on Count 1 for conspiracy to conduct an enterprise through a pattern of
 19
      racketeering in violation of 18 U.S.C. § 1962(d) and on Count 2 for conspiracy to
 20
      distribute cocaine, marijuana and methamphetamine in violation of 21 U.S.C. §
 21
      841(a)(1), each count to run concurrently. (ECF No. 1755). At the sentencing hearing,
 22
      the Court found the total offense level was 33, the criminal history category was III, and
 23
      the guideline range was 168-210 months.
 24
            Amendment 782 to the United States Sentencing Guidelines, effective November
 25
      1, 2014, lowered the penalties for drug offenses by reducing the offense level in the §
 26
      2D1.1 Drug Quantity Table by two levels. Defendant and the Government agree that
 27
      under the revised guidelines, the resulting guideline range would be 151-188 months.
 28
      (ECF No. 2291). Defendant requests an amended sentence of 151 months. The

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  1 Government opposes any reduction in the original sentence imposed.
  2         Amendment 788 to the United States Sentencing Guidelines provided that
  3 Amendment 782 may be applied retroactively to lower an imposed term of
  4 imprisonment.
  5         18 U.S.C. § 3582(c)(2) provides:
  6         (c) Modification of an imposed term of imprisonment.--The court may not
            modify a term of imprisonment once it has been imposed except that--
  7
            (2) in the case of a defendant who has been sentenced to a term of
  8         imprisonment based on a sentencing range that has subsequently been
            lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o),
  9         upon motion of the defendant or the Director of the Bureau of Prisons, or
            on its own motion, the court may reduce the term of imprisonment, after
 10         considering the factors set forth in section 3553(a) to the extent that they
            are applicable, if such a reduction is consistent with applicable policy
 11         statements issued by the Sentencing Commission.
 12 18 U.S.C. § 3582(c)(2).
 13         In Dillon v. United States, 560 U.S. 817 (2010), the United States Supreme Court
 14 set out a two step approach to applying §3582(c)(2),
 15         At step one, § 3582(c)(2) requires the court to follow the Commission’s
            instructions in § 1B1.10 to determine the prisoner’s eligibility for a
 16         sentence modification and the extent of the reduction authorized.
            Specifically, § 1B1.10(b)(1) requires the court to begin by ‘determin[ing]
 17         the amended guideline range that would have been applicable to the
            defendant’ had the relevant amendment been in effect at the time of the
 18         initial sentencing. ‘In making such determination, the court shall substitute
            only the amendments listed in subsection (c) for the corresponding
 19         guideline provisions that were applied when the defendant was sentenced
            and shall leave all other guideline application decisions unaffected.’ Ibid.
 20
            Consistent with the limited nature of § 3582(c)(2) proceedings, §
 21         1B1.10(b)(2) also confines the extent of the reduction authorized. Courts
            generally may ‘not reduce the defendant’s term of imprisonment under 18
 22         U.S.C. § 3582(c)(2) . . . to a term that is less than the minimum of the
            amended guideline range’ produced by the substitution. §
 23         1B1.10(b)(2)(A). Only if the sentencing court originally imposed a term
            of imprisonment below the Guidelines range does § 1B1.10 authorize a
 24         court proceeding under § 3582(c)(2) to impose a term ‘comparably’ below
            the amended range. § 1B1.10(b)(2)(B).
 25
            At step two of the inquiry, § 3582(c)(2) instructs a court to consider any
 26         applicable § 3553(a) factors and determine whether, in its discretion, the
            reduction authorized by reference to the policies relevant at step one is
 27         warranted in whole or in part under the particular circumstances of the
            case.
 28
      560 U.S. at 827.

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  1         In this case, Defendant is eligible for a sentence reduction under Amendment
  2 782. The amended sentencing range is 151-188 months. The original sentence of 168
  3 months is within the amended sentencing guideline range. The Court has the discretion
  4 to grant full, partial, or no reduction – based on the weighing of the factors under 18
  5 U.S.C. § 3553(a). In determining the particular sentence to be imposed, the Court
  6 considers “(1) the nature and circumstances of the offense and the history and
  7 characteristics of the defendant; (2) the need for the sentence imposed– (A) to reflect
  8 the seriousness of the offense, to promote respect for the law, and to provide just
  9 punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C)
 10 to protect the public from further crimes of the defendant; and (D) to provide the
 11 defendant with needed educational or vocational training, medical care, or other
 12 correctional treatment in the most effective manner[.]” 18 U.S.C. § 3553(a)(1) and (2).
 13         In this case, the nature and circumstances of the offense weighs strongly against
 14 any reduction of the original sentence imposed. Defendant stipulated as the factual
 15 basis for his plea that he entered into an agreement with others to participate in a
 16 racketeering conspiracy which included the commission of the crimes of murder,
 17 kidnaping, robbery, importation of controlled substances, and distribution of controlled
 18 substances. In addition to the Defendant’s direct participation in the trafficking of
 19 significant quantities of narcotics while possessing weapons, Defendant agreed that he
 20 entered into an agreement to locate and kill two named individuals. Defendant agreed
 21 that he drove to various locations in San Diego for the purpose of locating and killing
 22 the two named individuals. During the sentencing hearing, this Court found that the
 23 nature and circumstances of the offense were aggravated and could only have been
 24 more aggravated if the Defendant had been successful in committing the murders.
 25 (ECF No. 2305-2 at 15).
 26         At the time of the original sentencing, this Court considered the history and
 27 characteristics of the Defendant, including his young age, family support, and limited
 28 contacts with law enforcement. The Court again weighs these factors with facts that the

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  1 offense “committed was a particularly serious one.” Id. At the time of sentencing, this
  2 Court concluded that it would be inclined to impose a significantly higher sentence but
  3 for the agreements of the parties in the plea agreement and now concludes that the
  4 original sentence imposed is appropriate based upon all of the § 3553(a) factors. The
  5 sentence of 168 months represents a sentence sufficient, but not greater than necessary
  6 to reflect the seriousness of the offense, to provide just punishment, and to protect the
  7 public from further crime of the defendant. The Court has weighed all of the factors set
  8 forth in 18 U.S.C. § 3553(a) and finds that the original sentence “is warranted in whole
  9 . . . under the particular circumstances of the case.” Dillon, 560 U.S. at 827.
 10         IT IS HEREBY ORDERED that the motions for reduction of sentence pursuant
 11 to 18 U.S.C. §3582(c)(2) Guideline Amendment 782 (ECF Nos. 2206, 2262, 2291) are
 12 denied. The Clerk of the Court shall provide a copy of this order to the Defendant at
 13 the address indicated on ECF Nos. 2206 and 2262.
 14 DATED: October 26, 2016
 15
                                              WILLIAM Q. HAYES
 16                                           United States District Judge
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